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                       IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION


DAVID F. CIMPERMAN, JR.                           )      CASE NO.: 5:01CV2884
                                                  )
                            Plaintiff,            )      JUDGE POLSTER
                                                  )
vs.                                               )      ANSWER TO PLAINTIFF’S
                                                  )      COMPLAINT
                                                  )
CITY OF NEW PHILADELPHIA                          )      (Jury Demand Endorsed Heron)
                                                  )
                            Defendant.            )


       Now comes Defendant, City of New Philadelphia, by and through counsel, and

for its Answer to Plaintiff’s Complaint states as follows:

       1.     This answering Defendant admits the allegations in paragraphs (1), (2),

(3), and (4) of Plaintiff’s Complaint.

       2.     Answering paragraph (5) of Plaintiff’s Complaint, this answering

Defendant admits that on or about April 28, 2000, Plaintiff held the rank of patrolman.

Further answering, this Defendant admits that Plaintiff filed a written Complaint on or

about April 28, 2000 with his immediate supervisor concerning a sexually explicit

photograph being disseminated in the police department.          Further answering, this

Defendant admits that the photograph depicted the body of a nude black male with

Plaintiff’s face and that the Plaintiff may have considered the photograph offensive.




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Further answering, this Defendant denies each and every and all of the remaining

allegations contained in paragraph (5) not expressly admitted.

      3.     Answering paragraph (6), this Defendant admits that Plaintiff sought an

investigation into the circumstances surrounding the creation of the photograph and

dissemination of it within the department. Further answering, this Defendant admits

that an investigation was undertaken pursuant to the applicable rules and regulations of

the New Philadelphia Police Department. Further answering, this Defendant admits that

Captain DeMattio himself did not conduct an investigation because the officers who

were the subject of the investigation were on the shift of Captain Calderon, who did in

fact conduct an investigation. Further answering paragraph (6), this Defendant denies

each and every and all of the remaining allegations contained therein not expressly

admitted.

      4.     Answering paragraph (7), this Defendant admits that on or about May 10,

2000, Plaintiff filed a supplemental Complaint against Captain Calderon, who was in fact

the officer in charge of the shift that two of the officers that were the subject of the

investigation were assigned to.    Further answering paragraph (7), this Defendant

asserts that the supplemental Complaint filed by the Plaintiff speaks for itself and no

further responsive pleading is required with respect to the substance thereof. Further

answering, this Defendant denies that there was any violation of departmental policy in

relation to an internal investigation. Further answering paragraph (7), this Defendant

denies each and every and all of the allegations contained therein not expressly

admitted.




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      5.     Answering paragraph (8), this Defendant admits that on or about May 19,

2000, Plaintiff provided Captain DeMattio with additional information concerning his

Complaint of sexual harassment.      Further answering paragraph (8), this Defendant

denies each and every and all of the allegations contained therein not expressly

admitted.

      6.     This answering Defendant denies the allegations in paragraph (9).

      7.     Answering paragraph (10), this Defendant admits that the Chief of Police

ordered Captain Calderon to lead the investigation into the allegations made by the

Plaintiff and which are referred to in Plaintiff’s Complaint.    Further answering, this

Defendant admits that at the time Captain Calderon was assigned by the Chief of

Police, the Chief was aware that Captain Calderon was one of the subjects of Plaintiff’s

Complaint. Further answering paragraph (10), this Defendant denies each and every

and all of the allegations contained therein not expressly admitted.

      8.     This answering Defendant denies the allegations in paragraph (11).

      9.     Answering paragraph (12), this Defendant admits that after the

completion of the investigation the officers responsible for the dissemination of the

photograph received a one day suspension without pay.            Further answering, this

Defendant admits that neither Captain DeMattio nor Captain Calderon received any

disciplinary sanction and that neither engaged in conduct justifying any discipline in

relation to the claims asserted by Plaintiff.   Further answering paragraph (12), this

Defendant denies each and every and all of the remaining allegations contained therein

not expressly admitted.




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       10.    Answering paragraph (13), this Defendant admits that on or about June

30, 2000, Plaintiff was promoted to the rank of Captain of the New Philadelphia Police

Department. Further answering paragraph (13), this Defendant admits that Plaintiff’s

employment with the New Philadelphia Police Department was terminated on or about

August 31, 2000. Further answering paragraph (13), this Defendant denies each and

every and all of the allegations contained therein not expressly admitted.

       11.    Answering paragraph (14), this Defendant admits that Plaintiff filed a

grievance with respect to the termination of his employment.            The grievance was

ultimately submitted to arbitration and the report and award of the arbitrator are in no

need of interpretation and require no further responsive pleading. Further answering

paragraph (14), Defendant admits that Plaintiff was returned to his position as a

Captain in the New Philadelphia Police Department as a result of the arbitration of his

grievance but denied any entitlement to back pay during the year that he was off of

work. Further answering paragraph (14), this Defendant denies each and every and all

of the allegations contained therein not expressly admitted.

       12.    Answering paragraph (15), this Defendant admits that Plaintiff filed a

charge of discrimination with the Equal Employment Opportunity Commission alleging

sexual harassment and retaliation. Further answering paragraph (15), this Defendant is

without knowledge or information sufficient to form a belief as to the truth of the

remaining allegations contained therein and therefore denies the same.

       13.    This answering Defendant denies the allegations in paragraphs (16), (17),

(18), (19), (20), (21), (22), (23), (24), and (25) of Plaintiff’s Complaint.




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                                     FIRST DEFENSE

       14.     This answering Defendant realleges all of the admissions, denials, and

averments in paragraphs (1) through (13) as if fully rewritten herein.

       15.     All or part of Plaintiff’s Complaint fails to state a claim upon which relief

can be granted as against this answering Defendant.

                                    SECOND DEFENSE

       16.     All or part of Plaintiff’s Complaint is barred by the applicable statute of

limitations.

                                     THIRD DEFENSE

       17.     Plaintiff has failed to exhaust his administrative remedies.

                                    FOURTH DEFENSE

       18.     Abstention.

                                     FIFTH DEFENSE

       19.     At all times material hereto, Defendant acted in good faith.

                                     SIXTH DEFENSE

       20.     At all times material hereto, Defendant was under a duty to act.

                                   SEVENTH DEFENSE

       21.     At all times material hereto, Defendant was privileged to act.

                                     EIGHT DEFENSE

       22.     Punitive and exemplary damages are not recoverable as against this

answering Defendant.




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      WHEREFORE, having fully answered, Defendant, City of New Philadelphia, prays

Plaintiff’s Complaint be dismissed and it go hence without cost.

                                         Respectfully submitted,

                                         MAZANEC, RASKIN & RYDER CO., L.P.A



                                         s/ Todd M. Raskin
                                         TODD M. RASKIN (0003625)
                                          e-mail: traskin@mrrlaw.com
                                         CARL E. CORMANY (00019004)
                                          e-mail: ccormany@mrrlaw.com
                                         100 Franklin’s Row’s Row
                                         34305 Solon Road
                                         Cleveland, OH 44139
                                         (440) 248-7906
                                         (440) 248-8861 facsimile

                                         Attorneys for Defendant, City of New
                                         Philadelphia


                    OF COUNSEL:          Michael Johnson, Esq. (0011845)
                                         Law Director, City of New Philadelphia
                                         117 South Broadway
                                         New Philadelphia, OH 44663




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                                   CERTIFICATE OF SERVICE

        I hereby certify that on February 11, 2002, a copy of the foregoing Answer to
Plaintiff’s Complaint was filed electronically. Notice of this filing will be sent to all
registered parties by operation of the Court’s electronic filing system. Parties may
access this filing through the Court’s system.



                                           s/ Todd M. Raskin
                                           TODD M. RASKIN
                                            e-mail: traskin@mrrlaw.com
                                           CARL E. CORMANY (00019004)
                                            e-mail: ccormany@mrrlaw.com

                                           Attorneys for Defendant, City of New
                                           Philadelphia


                        OF COUNSEL:        Michael Johnson, Esq. (0011845)
                                           Law Director, City of New Philadelphia
                                           117 South Broadway
                                           New Philadelphia, OH 44663




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